            IN THE UNITED STATES DISTRICT COURT FOR
             THE WESTERN DISTRICT OF NORTH CAROLINA
                       STATESVILLE DIVISION

UNITED STATES OF AMERICA                      )       DOCKET NO: 5:14-cr-81-RLV
                                              )
       v.                                     )
                                              )       GOVERNMENT’S EXHIBIT LIST
(1) ROGER DALE FRANKLIN                       )


        NOW COMES the United States of America, by and through Jill Westmoreland Rose,
Acting United States Attorney for the Western District of North Carolina and files its exhibit list
in this case. The government reserves the right to add additional exhibits other than those listed
herein as may be referred to in the government's case file or as they may come to the attention of
the government subsequent to the preparation of this list. The government further reserves the
right to withdraw any exhibits listed herein at trial or prior thereto.


 EXH                DESCRIPTION & REMARKS                           ID       Rec      Witness

 1          Face photographs of Roger Franklin
 2          Face photograph of Lisa Wentworth
 3          Face photograph of Terry Clark
 4          Face photograph of William Townsend
 5          Stipulations
 6          Supplemental stipulations
 7          Meth from 7/6/13
 8          Gun from 7/6/13
 9          Meth from 8/19/13
 10         Gun from 8/19/13
 11         Photos from 8/19/13
 11a        Photos from 8/19/13 (objects on center console)
 11b        Photos from 8/19/13 (handgun)
 11c        Photos from 8/19/13 (baggies of meth on ground)
 12         Meth from 9/3/13

                                                                                               Page 1 of 3




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   EXH                DESCRIPTION & REMARKS                          ID       Rec      Witness

   13         Photos from 9/3/13
   13a        Photos from 9/3/13 (Franklin)
   13b        Photos from 9/3/13 (Miller)
   13c        Photos from 9/3/13 (truck rear view)
   13d        Photos from 9/3/13 (truck side view)
   13e        Photos from 9/3/13 (door panel in place)
   13f        Photos from 9/3/13 (door panel compartment exposed)
   13g        Photos from 9/3/13 (several baggies of meth)
   13h        Photos from 9/3/13 (two baggies of meth)
   14         Meth from 11/20/13
   15         Photos from 11/20/13
   15a        Photos from 11/20/13 (Franklin)
   15b        Photos from 11/20/13 (Sipes)
   15c        Photos from 11/20/13 (meth)
   16         Lisa Wentworth’s plea agreement

   17         Terri Clark’s plea agreement

   18         William Townsend’s plea agreement




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       Respectfully submitted this day, June 18, 2015.

                                              JILL WESTMORELAND ROSE
                                              ACTING UNITED STATES ATTORNEY

                                              /s/ Steven R. Kaufman
                                              STEVEN R. KAUFMAN
                                              ASSISTANT UNITED STATES ATTORNEY
                                              227 West Trade St., Ste 1700, Charlotte, NC 28202
                                              (704) 338-3117 (phone); (704) 227-0254 (facsimile)
                                              Steven.Kaufman@usdoj.gov


                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this day, June 18, 2015, the foregoing was duly
served upon counsel for the defendant, Haakon Thorsen, Esq., by electronic notification.

                                              /s/ Steven R. Kaufman
                                              STEVEN R. KAUFMAN
                                              ASSISTANT UNITED STATES ATTORNEY




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